        Case 5:24-cv-01085-XR   Document 60-14   Filed 04/08/25   Page 1 of 5
   Timothy O'Krongley                                                  November 14, 2024
                                                                                       ·


·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · SAN ANTONIO DIVISION

·3· SOUTHWEST AIRLINES CO.,· · )
· · · · · · · · · · · · · · · ·)
·4· · · · ·Plaintiff(s),· · · ·)
· · · · · · · · · · · · · · · ·) CIVIL ACTION NO.:
·5· VS.· · · · · · · · · · · · ) 5:24-CV-01085-XR
· · · · · · · · · · · · · · · ·)
·6· THE CITY OF SAN ANTONIO,· ·)
· · TEXAS AND JESUS SAENZ, IN· )
·7· HIS OFFICIAL CAPACITY AS· ·)
· · DIRECTOR OF AIRPORTS FOR· ·)
·8· THE CITY OF SAN ANTONIO,· ·)
· · · · · · · · · · · · · · · ·)
·9· · · · ·Defendant(s),· · · ·)
· · **************************************************
10· · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF

11· · · · · · · · · · TIMOTHY E. O'KRONGLEY

12· · · · · · · · · · · NOVEMBER 14, 2024
· · **************************************************
13

14· · · ORAL AND VIDEOTAPED DEPOSITION of TIMOTHY E.

15· O'KRONGLEY, produced as a witness at the instance of

16· the Plaintiff, and duly sworn, was taken in the

17· above-styled and numbered cause on the 14th day of

18· November, 2024, from 9:02 a.m. to 1:21 p.m., before

19· Dicie Lee Eytcheson, CSR in and for the State of

20· Texas, reported by machine shorthand, at the offices

21· of SAN ANTONIO AIRPORT SYSTEMS, Airport Business

22· Center, 10100 Reunion Place, Suite 860, San Antonio,

23· Texas 78216, pursuant to the Federal Rules of Civil

24· Procedure and the provisions stated on the record or

25· attached hereto.
      Case 5:24-cv-01085-XR                Document 60-14            Filed 04/08/25        Page 2 of 5
Timothy O'Krongley                                                                                    November 14, 2024
                                                                                                           Pages 2 to 5
                                                     Page 2                                                          Page 4
·1· · · · · · · · · · A P P E A R A N C E S                    ·1· 10· ·ESC Meeting Minutes, 9/22/2023· · · · · · · ·114
·2· FOR THE PLAINTIFF(S):· SOUTHWEST AIRLINES CO.              ·2· 11· ·ESC Meeting Minutes, 11/1/2023· · · · · · · ·123
·3· · · ·MR. LAWRENCE MORALES, II                              ·3· 12· ·E-mail correspondence, ANSER_0002479· · · · ·127
· · · · ·THE MORALES FIRM, P.C.                                ·4· 13· ·E-mail correspondence,
·4· · · ·6243 IH-10 West, Suite 132                            · · · · ·CoSA0005811 - CoSA0005812· · · · · · · · · · 128
· · · · ·San Antonio, Texas 78201
                                                               ·5
·5· · · ·PH: (210)225-0811
· · · · ·ahartry@themoralesfirm.com                            · · 14· ·E-mail correspondence,
·6                                                             ·6· · · ·CoSA0005791 - CoSA0005792· · · · · · · · · · 134
· · · · · · · (and)                                            ·7· 15· ·ESC Meeting Minutes, 1/26/2024· · · · · · · ·151
·7                                                             ·8· 16· ·E-mail correspondence,
· · · · ·MR. ROY GOLDBERG                                      · · · · ·CoSA0005715 - CoSA0005716· · · · · · · · · · 157
·8· · · ·CLARK HILL, PLLC                                      ·9
· · · · ·1001 Pennsylvania Avenue N.W.                         · · 17· ·E-mail correspondence, CoSA0005920· · · · · ·159
·9· · · ·Suite 1300 South                                      10
· · · · ·Washington, D.C. 20004
                                                               · · 18· ·E-mail correspondence,
10· · · ·PH: (202)552-2388
· · · · ·rgoldberg@clarkhill.com                               11· · · ·CoSA0005967 - CoSA0005968,
11                                                             · · · · ·CoSA0005981 - CoSA0005984· · · · · · · · · · 161
· · FOR THE DEFENDANT(S): THE CITY OF SAN ANTONIO, TEXAS AND   12
12· JESUS SAENZ, IN HIS OFFICIAL CAPACITY AS DIRECTOR OF       · · 19· ·ESC Meeting Minutes, 3/8/2024· · · · · · · · 165
· · AIRPORTS FOR THE CITY OF SAN ANTONIO, TEXAS                13
13                                                             · · 20· ·E-mail correspondence, CoSA0004463 -
· · · · ·MR. W. ERIC PILSK                                     14· · · ·CoSA0004467· · · · · · · · · · · · · · · · · 167
14· · · ·KAPLAN KIRSCH & ROCKWELL, LLP                         15· 21· ·E-mail correspondence, CoSA0006125 -
· · · · ·1634 I Street, NW, Suite 300
                                                               · · · · ·CoSA0006127, CoSA0006139 - CoSA0006140· · · ·172
15· · · ·Washington, D.C. 20006
· · · · ·PH: (202)955-5600                                     16
16· · · ·epilsk@kaplankirsch.com                               · · 22· ·E-mail correspondence, CoSA0005508,
17· · · · · · (and)                                            17· · · ·CoSA0005522 - CoSA0005526· · · · · · · · · · 175
18· · · ·MS. DEBORAH LYNNE KLEIN                               18· 23· ·ESC Meeting Minutes, 5/3/2024· · · · · · · · 179
· · · · ·CITY OF SAN ANTONIO                                   19· 24· ·San Antonio Airport System Speaking
19· · · ·Assistant City Attorney - Litigation Division         · · · · ·Points - City Council Briefings
· · · · ·203 S. St. Mary's Street, 2nd Floor                   20· · · ·Airline Use and Lease, 6/6/2024· · · · · · · 183
20· · · ·San Antonio, Texas 78205                              21· 25· ·Screen shots of text messages· · · · · · · · 186
21· THE VIDEOGRAPHER:
                                                               22· 26· ·E-mail correspondence, text messages· · · · ·193
22· · · ·GABE SEYMORE
23· ALSO PRESENT:                                              23· 27· ·Screen shots of text messages· · · · · · · · 197
24· · · ·ANGELA J. MAYEUX                                      24
25· · · · · · · · · · · · ·* * * * * *                         25

                                                     Page 3                                                          Page 5
·1· · · · · · · · · · · · · I N D E X                          ·1· · · · · ·INFORMATION AND/OR DOCUMENTS REQUESTED
·2· · · · · · · · · · · · · · · · · · · · · · · · · · PAGE     ·2· NO.· ·DESCRIPTION· · · · · · · · · · · · · · · · ·PAGE
·3· Appearances .............................· · · · · ·2
·4                                                             ·3· 1· · ·Text message screen shots· · · · · · · · · ·189
· · TIMOTHY E. O'KRONGLEY                                      ·4· · · · · · · · · · · · *· *· *· *    *
·5
                                                               ·5
· · · · ·Examination by Mr. Morales .........· · · · · ·8
·6                                                             ·6
·7· Changes and Signature ...................· · · · ·199      ·7
·8· Reporter's Certificate ..................· · · · ·201
·9                                                             ·8
10· · · · · · · · · · · ·E X H I B I T S                       ·9
11
                                                               10
· · · · · · · · · · · · · · · · · · · · · · · · · · · PAGE
12· NO.· DESCRIPTION                                           11
13· 1· · PowerPoint: Governance structure,                     12
· · · · ·CoSA0005500· · · · · · · · · · · · · · · · · ·11
14                                                             13
· · 2· · Summary of Decision-Making Process                    14
15· · · ·for Post-DBO Gate & Club Locations,
                                                               15
· · · · ·ANSER_0003760 thru ANSER_0003761· · · · · · · 22
16                                                             16
· · 3· · Gating Placement Analysis Worksheet                   17
17· · · ·(Draft)· · · · · · · · · · · · · · · · · · · ·44
18· 4· · PowerPoint: ESC, May 03,2024· · · · · · · · · 64      18
19· 5· · PowerPoint: Terminal A: A Critical                    19
· · · · ·Infrastructure Decision for San Antonio
                                                               20
20· · · ·International Airport, 6/20/2023· · · · · · · 81
21· 6· · PowerPoint: New Terminal Programming,                 21
· · · · ·6/16/2023· · · · · · · · · · · · · · · · · · ·88      22
22
· · 7· · Declaration of Timothy O'Krongley,                    23
23· · · ·A.A.E., IAP, IACE· · · · · · · · · · · · · · ·98      24
24· 8· · PowerPoint: WN, July 2023· · · · · · · · · · 109
                                                               25
25· 9· · PowerPoint: ESC, 9/22/2023· · · · · · · · · ·111




                                                                                                                              YVer1f
       Case 5:24-cv-01085-XR                   Document 60-14                Filed 04/08/25           Page 3 of 5
Timothy O'Krongley                                                                                             November 14, 2024
                                                                                                                    Pages 6 to 9
                                                             Page 6                                                               Page 8
·1· · · · · · · · THE VIDEOGRAPHER:· We are now on the                ·1· · · · · · · · · · · · ·EXAMINATION
·2· record.· This begins Videotape Number 1 in the                    ·2· BY MR. MORALES:
·3· deposition of Timothy O'Krongley in the matter of                 ·3· · · Q.· ·Sir, will you please state your full name.
·4· Southwest Airlines versus the City of San Antonio, Et Al          ·4· · · A.· ·Sure.· Timothy Edward O'Krongley.
·5· in the U.S. District Court, Western District of Texas,            ·5· · · Q.· ·And, Mr. O'Krongley, where do you work?
·6· San Antonio Division.· Today is November 4th [sic],               ·6· · · A.· ·City of San Antonio Aviation Department.
·7· 2024.· The time is 9:02 a.m.· This deposition is being            ·7· · · Q.· ·All right.· And what is your position with the
·8· taken at the Airport Business Center, San Antonio, Texas          ·8· City of San Antonio?
·9· at the request of The Morales Firm.· The videographer is          ·9· · · A.· ·Deputy aviation director over the Planning,
10· Gabe Seymore of Magna Legal Services and the court                10· Infrastructure and Development Division.
11· reporter is Dicie Eytcheson of Magna -- at -- of Magna            11· · · Q.· ·Have you ever had your deposition taken before?
12· Legal Services.                                                   12· · · A.· ·Once.
13· · · · · · · · Will counsel and all parties present state          13· · · Q.· ·Okay.· And how long ago was that?
14· their appearances and whom they represent.                        14· · · A.· ·I believe around 2006.
15· · · · · · · · MR. MORALES:· Lawrence Morales, II on               15· · · Q.· ·Okay.· Outside of your role with the City of
16· behalf of Southwest Airlines.                                     16· San Antonio?
17· · · · · · · · MR. PILSK:· Eric Pilsk --                           17· · · A.· ·It was with the City of San Antonio.
18· · · · · · · · MR. GOLDBERG:· Roy Goldberg from Clark              18· · · Q.· ·Okay.· And do you understand that you are under
19· Hill also present on behalf of Southwest.                         19· oath?
20· · · · · · · · MR. PILSK:· Eric Pilsk on behalf of                 20· · · A.· ·I do.
21· defendants.                                                       21· · · Q.· ·Do you understand that you're testifying
22· · · · · · · · MS. KLEIN:· Debbie Klein, the City                  22· subject to the penalties of perjury?
23· Attorney's Office, on behalf of the City of San Antonio.          23· · · A.· ·I do.
24· · · · · · · · And as a housekeeping matter, you said              24· · · Q.· ·What is -- what does that mean to you,
25· this was November 4th.· It's the 14th.                            25· testifying to the penalties of perjury or subject to the

                                                           Page 7                                                                  Page 9
·1· · · · · · · · THE VIDEOGRAPHER:· Correct.                         ·1· penalties of perjury?
·2· · · · · · · · MS. KLEIN:· If we can just clarify that             ·2· · · A.· ·That if I don't tell -- tell the truth that I'm
·3· for the record.                                                   ·3· subject to the law.
·4· · · · · · · · THE VIDEOGRAPHER:· Thank you.                       ·4· · · Q.· ·Okay.· And potential prosecution?
·5· · · · · · · · Will the court reporter please swear in             ·5· · · A.· ·Yes.
·6· the witness.                                                      ·6· · · Q.· ·Okay.· Sir, if you could allow me to finish
·7· · · · · · · · · ·TIMOTHY E. O'KRONGLEY,                           ·7· answering [sic] my question before you begin yours I
·8· having been first duly sworn on his oath to state the             ·8· will allow you to finish your response before I start my
·9· truth, the whole truth and nothing but the truth,                 ·9· next question.· Does that work for you?
10· testifies as follows:                                             10· · · A.· ·Yep.
11· · · · · · · · MR. MORALES:· Before we begin, I'll just            11· · · Q.· ·Okay.· And as you have started doing, if you
12· note that there are certain documents that Southwest              12· can continue to answer with a verbal response as opposed
13· contends are overdue and due by the City.· So we are              13· to a nod of the head or some other indication of -- of
14· taking this deposition reserving our right to reopen the          14· an answer.· Does that work for you?
15· deposition if additional documents are produced                   15· · · A.· ·Yes.
16· pertaining to Mr. O'Krongley's testimony.· We'll leave a          16· · · Q.· ·All right.· If you have any questions about my
17· little bit of time at the end to allow for that.· Just            17· question or uncertainty about my question, if you let me
18· notifying counsel of that position.                               18· know I'll do my best to rephrase it so that you
19· · · · · · · · MR. PILSK:· No.· Appreciate it.· And I              19· understand.· Does that work?
20· would just note the depositions are limited to four               20· · · A.· ·Yes.
21· hours.· So it -- you reserved time and that's -- that's           21· · · Q.· ·All right.· We have a four-hour limit today;
22· fine, but we'll stick to the four-hour rule absence some          22· however, if you need to take a break only -- I only ask
23· extraordinary circumstance.                                       23· that if you can finish answering the question that I
24· · · · · · · · MR. MORALES:· Thank you.                            24· have asked before you take a break I'm happy to
25                                                                    25· accommodate you, okay?




                                                                                                                                            YVer1f
       Case 5:24-cv-01085-XR                  Document 60-14                Filed 04/08/25          Page 4 of 5
Timothy O'Krongley                                                                                           November 14, 2024
                                                                                                                Pages 74 to 77
                                                          Page 74                                                              Page 76
·1· but we would want to know how they would operate that,           ·1· · · Q.· ·And so if you are a passenger one option would
·2· the size of aircraft they would be bringing in and those         ·2· be just to sit in the general holdroom while you're
·3· types of factors that would help determine utilization           ·3· waiting for your flight; is that right?
·4· of gate peak hours, loads and how it transfers                   ·4· · · A.· ·Uh-huh.· Yes.
·5· throughout the use of the building.                              ·5· · · Q.· ·Yes?
·6· · · Q.· ·So I know that -- of the factors -- and if              ·6· · · A.· ·Sorry.
·7· we're looking at Deposition Exhibit Number 2, you know,          ·7· · · Q.· ·And you could also alternatively sit in the
·8· one of the factors was:· Was an airline club requested,          ·8· airline's VIP lounge, correct?
·9· okay, we'll -- we'll talk about that at length in a              ·9· · · A.· ·That's another option, yes.
10· minute.· But then separate that is a factor of fit into          10· · · Q.· ·And you mentioned that within the VIP lounges
11· San Antonio, and we've seen documents that, under that           11· are certain services -- beverage services, food
12· category, it's this, quote, desirability of passenger            12· services; isn't that right?
13· profiles, and we saw that that includes whether there's          13· · · A.· ·Sometimes, yes.
14· a single cabin or a split cabin.· Other than that a              14· · · Q.· ·It's a perk, isn't it, that the airline
15· split cabin might involve the need for an airline club,          15· provides to its passengers, this VIP lounge?
16· operationally is there anything else that a split cabin          16· · · A.· ·Yes.· Those that -- that are -- that get access
17· could have on the impact of whether an airline is                17· to it whether you have -- whether you have membership,
18· Terminal C or not?                                               18· pay for membership for the day, yes.
19· · · A.· ·A split cabin.                                          19· · · Q.· ·And a passenger gets access to -- if you know,
20· · · Q.· ·Okay.· So the fact that American provides a             20· to a VIP lounge because maybe that day they are flying a
21· business class option doesn't impact gating decisions            21· business class or first class; is that right?
22· compared to Southwest who does not?                              22· · · A.· ·Could be, yes.
23· · · A.· ·No.                                                     23· · · Q.· ·Or they can also pay for, like, a membership
24· · · Q.· ·All right.                                              24· to, you know, enjoy that service, correct?
25· · · · · · · · MR. PILSK:· Just speak up a little bit.            25· · · A.· ·Correct.

                                                           Page 75                                                           Page 77
·1· · · · · · · · THE WITNESS:· I'm sorry.                           ·1· · · Q.· ·And just to be clear, you would agree with me
·2· · · A.· ·No.                                                     ·2· that an airline VIP lounge is a service that the airline
·3· · · Q.· (BY MR. MORALES) If we go down to -- one                 ·3· provides, correct?
·4· second here.· Let's talk about VIP lounges.· We have             ·4· · · A.· ·It can be.
·5· you -- seen in Exhibit Number 2 and you've testified             ·5· · · Q.· ·How is it not?· I mean, isn't it necessarily a
·6· that whether an airline club requested -- sorry --               ·6· service that the airline provides?
·7· whether an airline requested a VIP club was a factor             ·7· · · A.· ·Well, clubs in general -- you had mentioned
·8· that the city considered in assigning gates in                   ·8· earlier it could be a club provided and an airline or a
·9· Terminal C, correct?                                             ·9· club provided by --
10· · · A.· ·Correct.                                                10· · · Q.· ·Thank you for making that distinction.
11· · · Q.· ·Okay.· Why?                                             11· · · · · · · · So, for example, with regard to Delta,
12· · · A.· ·Why was it a factor?                                    12· Delta runs, I think, Sky Clubs; isn't that right?
13· · · Q.· ·Yeah.                                                   13· · · A.· ·I believe so, yes.
14· · · A.· ·To placement of existing facilities and where           14· · · Q.· ·And the Sky Club is a VIP lounge that we've
15· we could accommodate it.                                         15· been talking about?
16· · · Q.· ·Okay.· And for folks who may not have been in a         16· · · A.· ·Correct.
17· airline club what is an airline VIP club?                        17· · · Q.· ·And you would agree -- agree with me that
18· · · A.· ·It -- I would describe it as it's a gate-hold           18· Delta's Sky Club is a service that Delta provides to
19· area that aside from your typical gate holds -- could be         19· some of its passengers?
20· a cross of in the general facility -- they offer food            20· · · A.· ·Yes.
21· services, beverage services, your typical kind of a              21· · · · · · · · Except I -- I would say it's -- it's a --
22· quiet place to go sit and just relax.· It's -- it's an           22· it's an offering they provide for some form of payment
23· alternative to a gate hold with some amenities.· Some of         23· or something.
24· them can be very elaborate; some of them can be very             24· · · Q.· ·Right.· It -- it -- it's a service provided in
25· simple.                                                          25· exchange for a premium payment; is that right?




                                                                                                                                         YVer1f
       Case 5:24-cv-01085-XR                  Document 60-14               Filed 04/08/25           Page 5 of 5
Timothy O'Krongley                                                                                          November 14, 2024
                                                                                                               Pages 78 to 81
                                                         Page 78                                                              Page 80
·1· · · A.· ·Could be.                                               ·1· started off as a low cost carrier but, in my mind,
·2· · · Q.· ·Yeah.                                                   ·2· they -- they're -- they're not a ULCC.
·3· · · A.· ·Yes.                                                    ·3· · · Q.· ·So from your perception Southwest carrier --
·4· · · Q.· ·And then so I asked you the question kind of            ·4· Southwest Airlines presently is not a ULCC?
·5· the difference between split cabin and single cabin.             ·5· · · A.· ·Not in my mind.
·6· Other than maybe a correlation with a VIP lounge it              ·6· · · Q.· ·Okay.· Is there a difference, in your view,
·7· doesn't have any operational impact on where an airline          ·7· given your experience and education and knowledge, a
·8· will be assigned to in terms of gates; isn't that right?         ·8· difference between an ultra-low cost carrier and a low
·9· · · A.· ·Correct.                                                ·9· cost carrier?
10· · · Q.· ·Okay.· Now -- now, I want to ask the same               10· · · A.· ·Yes.
11· question with regard to passenger profile.                       11· · · Q.· ·Okay.· And what is the difference?
12· · · · · · · · So we know that the options of passenger           12· · · A.· ·To me an ultra-low cost carrier has a lot more
13· profile are business, leisure, mix.· Does the                    13· of the -- what I would call add-on fees.· You buy a
14· composition of passenger profile for an airline, other           14· baseline ticket and then there's a lot of add-on fees.
15· than a VIP lounge, have any impact on where that airline         15· Whether it's bags, seat upgrades --
16· will be assigned?                                                16· · · Q.· ·Okay.
17· · · A.· ·No.                                                     17· · · A.· ·-- multiples of things.
18· · · Q.· ·Okay.· But it could have a correlation                  18· · · Q.· ·And presently who are the ultra-low cost
19· similarly to VIP lounges, correct?                               19· carriers at San Antonio International Airport?
20· · · A.· ·They would want to be in the -- in a close              20· · · A.· ·In my opinion, it would be like Spirit, Jet
21· proximity, yes.                                                  21· Blue, someone like that.
22· · · Q.· ·Okay.· What about airline brand position:               22· · · Q.· ·And would Southwest Airlines fall into a low
23· Network, ULCC, established, startup, et cetera, what             23· cost carrier but just not an ultra-low cost carrier?
24· impact could that have on the analysis of what gate an           24· · · A.· ·Again, I'm -- I don't want to define what
25· airline should be assigned to?                                   25· Southwest defines themselves at, but I do not see them

                                                           Page 79                                                           Page 81
·1· · · A.· ·The correlation I would see -- really more              ·1· as an ultra-low cost carrier.
·2· their flight schedule and the aircraft type that they're         ·2· · · Q.· ·Okay.· And I'm not asking you to define them
·3· bringing in, peak demand, peak hour, load factors.               ·3· for Southwest purposes.· I'm asking you as the deputy
·4· · · Q.· ·Okay.· And does a network, ULLC, established,           ·4· aviation director for the City of San Antonio how do you
·5· startup have different peak hours compared to an airline         ·5· perceive Southwest Airlines?· Is it as a low cost
·6· that doesn't -- that falls outside one of those                  ·6· carrier?
·7· categories?                                                      ·7· · · A.· ·I -- I would say somewhere between a low cost
·8· · · A.· ·They could.                                             ·8· and a -- and a legacy carrier.· They've certainly grown
·9· · · Q.· ·Okay.· And how does that normally work?                 ·9· over the years and have gained, you know, good market
10· · · A.· ·A lot of times if -- for example, if they're            10· share and position.
11· going to a spub and -- a hub and spoke versus direct             11· · · Q.· ·Do you know presently what the market share of
12· they may have to launch earlier to get into the hub and          12· Southwest is at San Antonio -- San Antonio International
13· spoke system, point to point -- and it just really kind          13· Airport?
14· of depends on what their -- what their operational               14· · · A.· ·About 38 percent.
15· schedule is.                                                     15· · · Q.· ·All right.· Is it the largest -- is it the
16· · · Q.· ·I see.                                                  16· airline carrier with the largest market share at San
17· · · A.· ·So we react to their operational schedule when          17· Antonio Airport?
18· we're looking in to gate utilization, peak demand and            18· · · A.· ·Yes.
19· its effect on the terminals and other infrastructure.            19· · · Q.· ·Sir, was there ever a plan, that you're aware
20· · · Q.· ·Okay.· Earlier I was asking you questions about         20· of, in your role as aviation director at the San Antonio
21· where Southwest fit into the airline brand positions             21· Airport -- sorry -- deputy aviation director -- to
22· between network, ULCC, established, startup.· Remind me          22· contain or to isolate low cost carriers to Terminal A?
23· what is your answer?                                             23· · · A.· ·No.
24· · · A.· ·Well, I don't want to define what Southwest is,         24· · · · · · · · · · · (Exhibit Number 5 marked.)
25· that's for their intent to define, but I think they              25· · · Q.· (BY MR. MORALES) I'm going to show you what




                                                                                                                                        YVer1f
